               Case 23-11452-MFW              Doc 895        Filed 06/26/24       Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

Hartman SPE, LLC,                                   Case No. 23-11452 (MFW)

                 Debtor.1                           Related Docket No. 883



         CERTIFICATION OF COUNSEL REGARDING REORGANIZED DEBTOR’S
           FIFTH (NON-SUBSTANTIVE) OMNIBUS OBJECTION TO SATISFIED
            TAX CLAIMS PURSUANT TO BANKRUPTCY CODE SECTION 502,
                  BANKRUPTCY RULE 3007, AND LOCAL RULE 3007-1

          The undersigned counsel for the above-captioned debtor and debtor in possession (the

“Reorganized Debtor”) hereby certifies as follows:

          1.     On June 11, 2024, the Reorganized Debtor filed the Reorganized Debtor’s Fifth

(Non-Substantive) Omnibus Objection to Satisfied Tax Claims Pursuant to Bankruptcy Code

Section 502, Bankruptcy Rule 3007, and Local Rule 3007-1 [Docket No. 883] (the “Omnibus

Objection”). Pursuant to the Notice, the deadline to file responses regarding the relief requested

in the Omnibus Objection was June 25, 2024 (the “Objection Deadline”).

          2.     A review of the Court’s docket in this case shows that no answer, objection, or

other responsive pleading to the Omnibus Objection appears thereon.

          3.     On June 25, 2024, the Collin County Tax Assessor/Collector (“Collin County”)

filed the Withdrawal of Claim 1 Filed by Collin County Tax Assessor/Collector [Docket No.

894].

          4.     The Reorganized Debtor hereby submits a revised form of order (the “Revised

Order”), attached hereto as Exhibit A, which reflects the removal of Collin County’s claim


1
    The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification
    number, is Hartman SPE, LLC (7400). The Debtor’s principal place of business and service address is 2909
    Hillcroft, Suite 420, Houston, TX 77057. Copies of pleadings may be obtained from the website of the United
    States Bankruptcy Court for the District of Delaware www.deb.uscourts.gov or from the Debtor’s Claim
    Agent’s website https://dm.epiq11.com/HartmanSPE.
                       Case 23-11452-MFW   Doc 895     Filed 06/26/24     Page 2 of 2




from the Proposed Order attached to the Omnibus Objection. Attached as Exhibit B is a

blackline of the Revised Order against the Proposed Order.

           WHEREFORE, the Reorganized Debtor respectfully requests that the Court enter the

Revised Order attached hereto as Exhibit A at its earliest convenience.

Dated: June 26, 2024                       CHIPMAN BROWN CICERO & COLE, LLP
       Wilmington, Delaware

                                           /s/ Mark D. Olivere
                                           William E. Chipman, Jr. (No. 3818)
                                           Kristi J. Doughty (No. 3826)
                                           Mark D. Olivere (No. 4291)
                                           Hercules Plaza
                                           1313 North Market Street, Suite 5400
                                           Wilmington, Delaware 19801
                                           Telephone: (302) 295-0191
                                           Facsimile: (302) 295-0199
                                           Email: chipman@chipmanbrown.com
                                                   doughty@chipmanbrown.com
                                                    olivere@chipmanbrown.com

                                               —and—

                                           KATTEN MUCHIN ROSENMAN LLP
                                           John E. Mitchell (Admitted pro hac vice)
                                           Michaela C. Crocker (Admitted pro hac vice)
                                           Yelena E. Archiyan (Admitted pro hac vice)
                                           2121 North Pearl Street, Suite 1100
                                           Dallas, Texas 75201
                                           Telephone: (214) 765-3600
                                           Facsimile: (214) 765-3602
                                           Email: john.mitchell@katten.com
                                                   michaela.crocker@katten.com
                                                   yelena.archiyan@katten.com

                                           Counsel to the Reorganized Debtor




                                                 -2-

4875-6177-2748, v. 1
